     Case 2:22-cv-02147-WBS-AC Document 38 Filed 04/24/23 Page 1 of 7


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17

18                         IN THE UNITED STATES DISTRICT COURT
19                       FOR THE EASTERN DISTRICT OF CALIFORNIA
20

21
     LETRINH HOANG, D.O., PHYSICIANS                       2:22-cv-02147-WBS-AC
22   FOR INFORMED CONSENT, a not-for
     profit organization, and CHILDREN’S                   JOINT STATUS REPORT AND
23   HEALTH DEFENSE, CALIFORNIA                            [PROPOSED] ORDER FOLLOWING
     CHAPTER, a California Nonprofit                       APRIL 11, 2023 ORDER
24   Corporation,

25                                       Plaintiffs,
                                                           The Honorable William B. Shubb
26                v.

27
     ROB BONTA, in his official capacity as
28   Attorney General of California, and ERIKA
                                                       1
                                                                  Joint Status Report (2:22-cv-02147-WBS-AC)
     Case 2:22-cv-02147-WBS-AC Document 38 Filed 04/24/23 Page 2 of 7


 1   CALDERON, in her official capacity as
     Executive Officer of the Osteopathic
 2   Medical Board of California (“OMBC”),
 3                                       Defendants.
 4

 5

 6          Pursuant to this Court’s April 11, 2023 Order, and Federal Rules of Civil Procedure 16

 7   and 26(f), and Local Rule 240, the parties submit the following report, by and through their

 8   respective counsel of record:

 9   I.     STATEMENT OF THE CASE

10         This case is a challenge to AB 2098, § 2(a) (codified at Cal. Bus. & Prof. Code § 2270),

11   which provides that “[i]t shall constitute unprofessional conduct for a[n] [osteopathic]

12   physician . . . to disseminate misinformation or disinformation related to COVID-19[.]” Plaintiffs

13   are Letrinh Hoang, D.O. – an osteopathic physician, Physicians for Informed Consent – a non-

14   profit group based in California whose membership includes physicians, health care

15   professionals, and scientists, and Children’s Health Defense, California Chapter – a non-profit

16   group whose membership includes parents. Defendants are Attorney General Rob Bonta, and the

17   Executive Director of the Osteopathic Medical Board of California, who are sued in their official

18   capacities.

19         Plaintiffs seek a declaratory judgment, injunctive relief, and costs and attorneys’ fees. They

20   contend that AB 2098 violates their First Amendment rights to free speech, is unconstitutionally

21   vague under the Fifth and Fourteenth Amendments, and that plaintiffs have a privacy right to

22   obtain any FDA approved drugs for off-label use in the treatment or prevention of COVID-19.

23          Defendants contend that the statute is a reasonable exercise of the state’s authority to

24   regulate and license physician practice for the safety of patients and the public. They contend that

25   this statute ensures physicians will not fall below the standard of care when providing treatment

26   and advice to patients, and therefore comports with constitutional protections.

27          On January 25, 2023, the Court issued a preliminary injunction on the grounds that the

28   statute is unconstitutionally vague under the Fourteenth Amendment. (ECF No. 35.) The Court
                                                      2
                                                                 Joint Status Report (2:22-cv-02147-WBS-AC)
     Case 2:22-cv-02147-WBS-AC Document 38 Filed 04/24/23 Page 3 of 7


 1   enjoined Defendants from enforcing the statute toward the Plaintiffs pending resolution of the

 2   action.

 3          All Defendants named in the Complaint have been served and have appeared through

 4   counsel. Defendants have not yet responded to the Complaint. Based on stipulation by the

 5   parties, the Court ordered that Defendants’ response to the Complaint shall be due 30 days after

 6   the Ninth Circuit issues its mandate in the pending consolidated appeals, McDonald, et al. v.

 7   Lawson, et al., Appeal No. 22-56200, and Couris, et al. v. Lawson, et al., Appeal No. 23-55069

 8   (“Consolidated Appeals”). (ECF No. 41.)

 9   II.       JURISDICTION

10             This Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3)-(4)

11   because Plaintiffs assert claims arising under the laws of the United States including 42 U.S.C. §

12   1983 and the First and Fourteenth Amendments of the United States Constitution.

13   III.      NEED FOR 3-JUDGE PANEL

14             This case does not require convening a 3-Judge panel under 28 U.S. C. § 2284.

15   IV.       JOINDER AND AMENDMENT

16             The parties propose that the last day to amend the pleadings or add parties be September

17   1, 2023.

18   V.        MOTIONS

19             In order to provide the greatest likelihood that summary judgment proceedings will be

20   informed by the Ninth Circuit’s Decision in the consolidated appeals of McDonald and Couris,

21   this Court has ordered that no dispositive motions shall be noticed for hearing on a date prior to

22   January 1, 2024. (ECF No. 45.)

23          At this time, the parties do not know what issues may be determined by motion in limine.

24          The parties propose the following schedule regarding cross-motions for summary judgment:

25             Hearing Date: Jan. 8, 2024;

26             Plaintiffs’ motion for summary judgment shall be due by October 2, 2023;

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                                                                 Joint Status Report (2:22-cv-02147-WBS-AC)
     Case 2:22-cv-02147-WBS-AC Document 38 Filed 04/24/23 Page 4 of 7


 1           Defendants’ consolidated 1 combined cross-motion for summary judgment and opposition

 2   shall be due by November 2, 2023;

 3           Plaintiffs’ combined reply and opposition to cross-motion for summary judgment shall be

 4   due by December 4, 2023; and

 5           Defendants’ consolidated reply in support of cross-motion for summary judgment shall be

 6   due by December 18, 2023.

 7   VI.     PROPRIETY OF INITIAL DISCLOSURES

 8          The parties have not yet commenced discovery. While this case does not fall under the

 9   category of cases explicitly exempted from initial disclosure requirements under Federal Rule of

10   Civil Procedure 26, it is nonetheless a facial challenge to a statute and therefore presents a pure

11   question of law. Consequently, the parties are in agreement that discovery is not required for this

12   case at this time.

13   VII.    AVOIDANCE OF UNNECESSARY PROOF AND CUMULATIVE EVIDENCE

14          The parties stipulate that the main evidence necessary for this case will be the legislative

15   history of AB 2098.

16   VIII. ADMISSIONS AND STIPULATIONS OF EVIDENCE

17           The parties stipulate to the introduction of the legislative history of AB 2098 at trial,

18   should this matter proceed to trial.

19   IX.     FURTHER PROCEEDINGS

20          The Court has ordered that dispositive motions may not be noticed for hearing until after

21   January 1, 2024. The parties believe that this matter will likely be resolved by summary

22   judgment without need for a trial of issues. Thus, the parties recommend that the Court refrain

23   from setting any further dates aside from summary judgment briefing pending ruling on the

24   forthcoming motions for summary judgment.

25          If the Court is inclined to set dates at this time, however, the parties agree to the following:

26   The parties propose a settlement conference deadline of September 30, 2024. The parties

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             1
             Defendants propose to file consolidated briefs for the Hoeg and Hoang cases, which
28   were deemed related by Order of this court.
                                                    4
                                                                   Joint Status Report (2:22-cv-02147-WBS-AC)
     Case 2:22-cv-02147-WBS-AC Document 38 Filed 04/24/23 Page 5 of 7


 1   propose that the final pretrial conference take place on October 10, 2024, and that trial be set in

 2   November 2024. Plaintiffs intend to move to consolidate this matter with the related Hoeg

 3   matter, Case No. 2:22-cv-01980-WBS-AC, for purposes of any trial. The parties estimate that

 4   trial will take 7 to 10 court days to complete.

 5   X.     COMPLEXITY

 6          The parties agree that this is not a complex case and therefore is not subject to the Manual

 7   for Complex Litigation.

 8   XI.    NEED FOR SEPARATE TRIAL OF ISSUES

 9          The parties do not require a separate trial of issues.

10   XII.   NEED FOR EVIDENCE FOR DIRECTED VERDICT

11          Not applicable.
12   XIII. SPECIAL PROCEEDINGS

13          This matter is a pure legal issue, and therefore, not a complex case or one requiring a

14   Special Master or other proceedings to manage voluminous evidence.

15   XIV. SETTLEMENT

16          The parties do not believe that it would be fruitful to engage in settlement proceedings at

17   this time. However, settlement proceedings may be fruitful depending on the Ninth Circuit’s

18   ruling in the Consolidated Appeals.

19   XV.    ADR

20          The parties do not believe that alternative dispute resolution would be helpful in this

21   matter because the issue is one of law, rather than fact, and therefore, it is unlikely that any party

22   will be amenable to resolution short of determining the constitutionality of AB 2098.

23   XVI. OTHER ISSUES

24          None.

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                                                                     Joint Status Report (2:22-cv-02147-WBS-AC)
     Case 2:22-cv-02147-WBS-AC Document 38 Filed 04/24/23 Page 6 of 7


 1   Dated: April 24, 2023                         Respectfully Submitted,

 2                                                 ROB BONTA
                                                   Attorney General of California
 3                                                 ANYA M. BINSACCA
                                                   EDWARD KIM
 4                                                 Supervising Deputy Attorneys General
                                                   KRISTIN A. LISKA
 5

 6

 7
                                                   /s/ Christina Sein Goot
 8                                                 CHRISTINA SEIN GOOT
                                                   Deputy Attorneys General
 9                                                 Attorneys for Defendants
10
     Dated: April 24, 2023                         Respectfully Submitted,
11

12

13
                                                   _/s/ Richard Jaffe_____________________
14                                                 (as authorized by email on April 21, 2023)
                                                   RICHARD JAFFE
15
                                                   ROBERT KENNEDY JR. (Pro Hac Vice)
16                                                 Children’s Health Defense
                                                   Attorneys for Plaintiffs
17

18

19           The above JOINT STATUS REPORT & PROPOSED ORDER is for this case and all
     parties shall comply with its provisions.
20
              Other Orders: ____________________________________________________
21
     _____________________________________________________________________
22

23   IT IS SO ORDERED.

24   Dated:                                  ____________________________________
                                             WILLIAM B. SHUBB
25                                           U.S. DISTRICT COURT JUDGE
26

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                                               6
                                                        Joint Status Report (2:22-cv-02147-WBS-AC)
        Case 2:22-cv-02147-WBS-AC Document 38 Filed 04/24/23 Page 7 of 7



                              CERTIFICATE OF SERVICE

Case Name:      Hoang, et al. v. Bonta                    No.    2:22-cv-02147

I hereby certify that on April 24, 2023, I electronically filed the following documents with the
Clerk of the Court by using the CM/ECF system:


JOINT STATUS REPORT & PROPOSED ORDER


I certify that all participants in the case are registered CM/ECF users and that service will be
accomplished by the CM/ECF system.
I declare under penalty of perjury under the laws of the State of California and the United States
of America the foregoing is true and correct and that this declaration was executed on April 24,
2023, at Los Angeles, California.


            Naadirah Crawford
                Declarant                                            Signature
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